






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00501-CV






Ed Hendee, Individually and as Executive Director of C.L.O.U.T., Appellant


v.


David Dewhurst, Tom Craddick, State of Texas, and the 

Texas Legislative Budget Board, Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 345TH JUDICIAL DISTRICT

NO. D-1-GN-06-002156, HONORABLE WILLIAM E. BENDER, JUDGE PRESIDING





O P I N I O N


		In response to the Texas Supreme Court's decision in the Neeley v. West Orange Cove
case, (1) the 79th Legislature, during its third called session of April and May 2005, enacted H.B. 1,
which the Governor signed into law on May 31 of that year.  Among other things, H.B. 1 attempted
to shift some of the burden of funding Texas's public schools from local property taxpayers to the
state and, to that end, made additional appropriations of $3.825 billion for the biennium ending on
August 31, 2007.  In June 2005, Ed Hendee, individually and as executive director of the group
Citizens Lowering Our Unfair Taxes (C.L.O.U.T.) (collectively, Plaintiffs), filed suit against the
Lieutenant Governor, the Speaker of the House of Representatives, the Comptroller, and the
members of the Legislative Budget Board (LBB), (2) all in their official capacities, and the State
of&nbsp;Texas, seeking declarations that H.B. 1 was unconstitutional and unlawful.  Plaintiffs' central
allegation is that the appropriation called for in H.B. 1 caused the Defendants to exceed the aggregate
biennial cap on the rate of growth of appropriations under article VIII, section 22 of the Texas
Constitution and chapter 316 of the government code.  These provisions mandate that the "rate of
growth of appropriations from state tax revenues" not dedicated by the constitution not exceed the
"estimated rate of growth of the state's economy."  Tex. Const. art. VIII, § 22(a); Tex. Gov't Code
Ann. § 316.001 (West 2005).  All defendants except the Comptroller (collectively, the "State
Defendants") filed a plea to the jurisdiction.  The district court granted the plea without specifying
its grounds, and dismissed Plaintiffs' claims against the State Defendants for want of jurisdiction. 
		Plaintiffs bring this interlocutory appeal from the district court's order.  See Tex. Civ.
Prac. &amp; Rem. Code Ann. § 51.014(a)(8) (West Supp. 2006); Perry v. Del Rio, 53 S.W.3d 818, 820-23 (Tex. App.--Austin 2001), pet. dism'd, 66 S.W.3d 239, 242 (Tex. 2001).  We affirm the
district&nbsp;court's order of dismissal in part, reverse in part, and remand for further
proceedings&nbsp;consistent with this opinion.



BACKGROUND

Constitutional and statutory provisions

		Before turning to the jurisdictional issues presented by this appeal, it is helpful to
consider the constitutional and statutory context in which they arise. 

		Article VIII, section 22(a) of the Texas Constitution provides:


In no biennium shall the rate of growth of appropriations from state tax revenues not
dedicated by this constitution exceed the estimated rate of growth of the state's
economy.  The legislature shall provide by general law procedures to implement
this&nbsp;subsection.



Tex. Const. art. VIII, § 22(a).  An "appropriation" refers to a legislative enactment authorizing state
funds to be expended for particular purposes.  The constitution elsewhere requires that "[n]o money
shall be drawn from the Treasury but in pursuance of specific appropriation made by law; nor shall
any appropriation of money be made for a longer term than two years."  See Tex. Const. art. VIII,
§ 6. (3)  "State tax revenues not dedicated by this constitution" refers to one source of funds that&nbsp;the
legislature could appropriate; others include non-tax revenues and tax revenues whose
use&nbsp;is&nbsp;dedicated by the constitution.

		Subsection (b) of article VIII, section 22 authorizes the legislature to override the
appropriations limit otherwise imposed by subsection (a) by adopting a resolution, approved by a
record vote of each house, finding that an emergency exists and identifying the nature of that
emergency, in which case the legislature's excess appropriation may not exceed the amount specified
in the resolution.  Id. art. VIII, § 22(b).  Further, these limits expressly do not alter, amend or repeal
the Texas Constitution's "pay-as-you-go" or balanced budget limitation of article III, section 49a. 
Id. art. VIII, § 22(c).  The "pay-as-you-go" limitation generally requires that before any bill
containing an appropriation can be considered passed and be sent to the governor, the comptroller
must certify that each amount appropriated is within the amount of revenue estimated to be available
in the corresponding affected funds.  Id. art. III, § 49a(b). (4)

		Article VIII, section 22 was borne of a tax reform effort in the late 1970s. (5)  It was one
of several components of a "Tax Relief Amendment" to the constitution proposed earlier that year
by the 65th legislature during a special session called for that purpose by Governor Dolph Briscoe. 
H.J.R. 1, 65th Leg., 2d C.S.  It was apparently modeled on a Tennessee provision.  See Janice C.
May, The Texas State Constitution: A Reference Guide 310 (1996).  Article VIII, section 22 was
ratified by the voters in November 1978. 

		As the second sentence of Article VIII, section 22(a) requires, the legislature enacted
laws to implement the provision.  The legislature did so during the regular session beginning in
January 1979, immediately following article VIII, section 22's ratification.  See generally Acts 1979,
66th Leg., R.S., ch. 302.  With some intervening amendments, these enactments are now codified
in chapter 316 of the government code.  See id. art. 9, § 1.

		Section 316.001, government code, tracks the mandate of article VIII, section 22(a):
"The rate of growth of appropriations in a biennium from state tax revenue not dedicated by the
constitution may not exceed the estimated rate of growth of the state's economy."  Tex. Gov't Code
Ann. § 316.001.  Other provisions of chapter 316 address how "the estimated rate of growth of
the&nbsp;state's economy" is calculated and provide mechanisms for ensuring that, as
article&nbsp;VIII,&nbsp;section&nbsp;22(a) requires, the rate of growth in appropriations does not exceed the
estimated&nbsp;rate&nbsp;of&nbsp;growth of the state's economy.  The LBB is charged with several key
responsibilities&nbsp;within&nbsp;this&nbsp;statutory scheme.

		Under section 316.002(b), the LBB is to determine both "the estimated rate of growth
of the state's economy" and the rate of appropriations growth by comparing those figures from the
baseline of the current biennium to the next biennium.  Id. § 316.002(b) (West 2005).  It calculates
"the estimated rate of growth of the state's economy" from the current biennium to the next
biennium by "dividing the estimated Texas total personal income for the next biennium by the
estimated Texas total personal income for the current biennium."  Id. § 316.002(a)(1), (b).  "Using
standard statistical methods, the board shall make the estimate by projecting through the biennium
the estimated Texas total personal income reported by the United States Department of Commerce
or its successor in&nbsp;function."  Id. § 316.002(b).  However, section 316.002(c) contemplates that "[i]f
a more comprehensive definition of the rate of growth of the state's economy is developed and is
approved"&nbsp;by a committee of the governor, lieutenant governor, speaker of the house of
representatives, and&nbsp;comptroller, "the board may use that definition."  Id. §§ 316.002(c), 316.005
(West 2005).  The&nbsp;State Defendants represent that such an alternative, "more comprehensive"
definition has never been adopted.

		Section 316.002 also requires the LBB to establish "the level of appropriations for
the current biennium from state tax revenues not dedicated by the constitution."  Id. § 316.002(a)(2). 
This figure is itself partly an estimate, for reasons relating to the nature of appropriations. (6)
Even&nbsp;without  additional legislative action, the amount of  an appropriation, as well as its funding 

source, may change during a biennium, such as when changes in economic conditions not originally 

forecasted impact the amount or composition of funding sources subject to an appropriation. 
Because the "level of appropriations for the current biennium from state tax revenues not dedicated
by the constitution" is calculated during the current biennium, it is comprised of both actual
appropriations of non-dedicated tax revenues (appropriated non-dedicated tax revenues that have
already been spent, and whose amount is thus finally ascertainable) and estimated appropriations of
non-dedicated tax revenues (the amount of such funds that the LBB anticipates will be spent
pursuant to appropriations during the remainder of the biennium).  Reflecting the potential for
unforeseen changes in the amount or funding source of appropriations later in the biennium, the LBB
determines "the level of appropriations for the current biennium from state tax revenues not
dedicated by the constitution" "subject to adjustments resulting from revenue forecast revisions or
subsequent appropriations certified by the Comptroller." (7)

		The LBB applies the "rate of growth of the state's economy" to the "the level of
appropriations for the current biennium from state tax revenues not dedicated by the constitution"
to yield the appropriations limit, or "spending cap":  "the amount of state tax revenues not dedicated
by the constitution that could be appropriated for the next biennium within the limit established by
the estimated rate of growth of the state's economy."  Id. § 316.002(a)(3).  Reflecting the potential
that the current-biennium appropriation baseline might change, the LBB's spending cap calculation
is expressly made "subject to adjustments in [current] biennial appropriations." (8)

		The LBB is to "hold a public hearing" by December 1 of each even-numbered year
(i.e., those preceding a regular legislative session) "to solicit testimony regarding the proposed items
of information and the methodology used in making the calculations required by Section 316.002." 
Id. § 316.004 (West 2005).  Before it approves the items of information required by section 316.002,
the LBB is required to publish in the Texas Register the proposed items of information and
"a&nbsp;description of the methodology and sources used in the calculations."  Id. § 316.003 (West 2005).

		After the LBB approves the items of information required by section 316.002, it must
submit the information to the committee composed of the governor, lieutenant governor, speaker
of&nbsp;the house of representatives, and comptroller.  Id. § 316.005(a).  This committee has ten
days&nbsp;to&nbsp;adopt the items, with any amendments it might make.  Id. § 316.005(b).  If the
committee&nbsp;fails to&nbsp;act&nbsp;within the ten-day period, the items are deemed approved by the committee. 
Id. §&nbsp;316.005(c). &nbsp;The State Defendants represent that this committee "has never met to approve
these&nbsp;items," so that "the items have historically been approved by the inaction of the committee."

		"To ensure compliance with Article VIII, Section 22, of the Texas Constitution," the
LBB is prohibited from transmitting "in any form" to the governor or legislature either the "budget
of estimated appropriations" or the general appropriations bill until "the limit on the rate of growth
of appropriations has been adopted as required by this subchapter."  Id. § 316.002(d).  These events
are ordinarily required to occur not later than the fifth and seventh days, respectively, after a regular
session convenes.  Id. § 322.008(c) &amp; (d) (West 2005).  "In the absence of an action by the [LBB] 

to adopt a spending limit," the estimated rate of growth of the state's economy is deemed to be zero,
meaning that appropriations for the next biennium from non-dedicated tax revenues could not exceed
the amount of such appropriations in the current biennium.  Id. § 316.002(e). (9)

		Additionally, section 316.006 provides that unless authorized by a majority vote of
the LBB members from each house, the LBB's budget recommendations relating to the proposed
appropriations of state tax revenue not dedicated by the constitution may not exceed the limit on
estimated appropriations.  Id. § 316.006 (West 2005).  Moreover, section 316.008 provides that the
"proposed limit" on appropriations is "binding on the legislature with respect to all appropriations
for the next biennium made from state tax revenues not dedicated by the constitution" absent a
resolution to raise the cap under article VIII, section 22(b).  Id. § 316.008(a) (West 2005).  "The
rules&nbsp;of the house of representatives and senate shall provide for enforcement" of this limitation. 
Id.&nbsp;§&nbsp;316.008(b).  Both the house and senate rules in effect during the 79th Legislature's Third
Called&nbsp;Session, when H.B. 1 was enacted, contained virtually identical provisions that:


Unless within the authority of a resolution or resolutions adopted pursuant to Article
VIII, Section 22(b), of the Texas Constitution, it is not in order for the [chamber] to
consider for final passage on third reading, on motion to concur in [the other
chamber's] amendments, or on motion to adopt a conference committee report, a bill
appropriating funds from the state treasury in an amount that, when added to
amounts previously appropriated by bills previously passed and sent or due to be
sent to the comptroller, would exceed the limit on appropriations established under
Chapter 316, Government Code.


Tex. H.R. Rule 8, § 21(f), Tex. H.R. 5, 79th Leg., R.S., 2005 H.J. of Tex. 108, 114; Tex. S. Rule
7.20, Tex. S. Res. 3, 80th Leg., R.S., 2007 S.J. of Tex. 24.  In other words, a bill that members
believe would exceed the spending cap is subject to a point of order.  If determined meritorious and
sustained by the chamber's presiding officer, such a ruling would prevent passage of the bill until
the defect is remedied.  See Tex. H.R. Rule 1, § 9, Tex. H.R. 3, 80th Leg., R.S.; Tex.&nbsp;S. Rule 4.03,
Tex. S. Res. 3, 80th Leg., R.S.

Plaintiffs' allegations

		Plaintiffs' live pleading before the district court was their original petition, filed in
June 2005.  In it, Plaintiffs sought relief under the Uniform Declaratory Judgments Act (10) based on
claims that the Defendants violated article VIII, section 22(a) of the Texas Constitution and section
316.001 of the government code.  Plaintiffs seek "declaratory relief to stop and prevent
unconstitutional and illegal spending by the Texas State government."  They allege two chief
theories regarding how H.B. 1's appropriation violates article VIII, section 22 or chapter 316, as well
as a theory that chapter 316 violates the separation of powers.

		Plaintiffs allege that the legislature's requirement that the "estimated rate of growth
of the state's economy" be presumptively based solely on growth in Texas's total personal income,
see Tex. Gov't Code Ann. § 316.002(b) &amp; (c), and the LBB's sole reliance on that measure, are
inconsistent with the text and intent of article VIII, section 22(a).  As a matter of constitutional
interpretation, Plaintiffs urge, the "estimated rate of growth of the state's economy" means growth
of the entire state economy, not merely the growth of a single component--personal income. 
Plaintiffs also rely on the legislative history of article VIII, section 22.  They observe that the
legislature apparently considered but eventually rejected a version of subsection (a) that would have
explicitly tied the spending limit to growth in personal income, (11) and urge us to infer intent to reject
personal income growth as the sole basis for the spending cap.  Plaintiffs allege that "this barometer
[personal income growth] has been historically proven to wildly overstate the growth of the state's
economy," causing spending caps set on that basis to permit appropriations exceeding the true
constitutional limit.  Plaintiffs complain that, in this way, H.B. 1's appropriation is unconstitutional
relative to the "real" rate of economic growth as compared to both the baseline of the 2004-2005
biennium and 1978, when article VIII, section 22 was ratified.  Regarding the latter, Plaintiffs
complain that overestimations of economic growth have "compounded over the decades" without
correction, causing the spending cap to likewise deviate from constitutional requirements. (12)

		Second, Plaintiffs allege that the mechanisms the legislature has adopted to
implement and enforce article VIII, section 22--chiefly found in chapter 316 of the government code
--constitute unconstitutional delegations of its legislative power to the LBB in violation of
separation-of-powers limitations.  Tex. Const. art. II, § 1. (13)  Plaintiffs also complain that
when&nbsp;enacting H.B. 1, the legislature relied on an upward revision of the LBB's
original&nbsp;spending&nbsp;cap made by LBB staff--not the board itself--which, they contend, was invalid
and void.&nbsp;&nbsp;Specifically,&nbsp;Plaintiffs allege--and the State Defendants acknowledge--that in
November&nbsp;2004, the&nbsp;LBB approved a resolution complying with chapter 316 that set a spending limit 

of $52.145 billion that could be appropriated from non-dedicated state tax revenues during the 2006-07 biennium. (14)  Plaintiffs also allege--and the State Defendants agree--that the spending cap was
adjusted upward in late 2005 to $55.6 billion.  In contending that this adjustment was void, Plaintiffs
emphasize statements in a December 2005 LBB publication that "[t]he [LBB] instructed staff to
adjust the level&nbsp;of 2004-2005 appropriations from state tax revenues not dedicated by the
Constitution and 2006-2007 spending limit calculations to reflect subsequent 2005 appropriations
certified by the Comptroller."  (Emphasis added). (15)  Plaintiffs urge that such an adjustment would
have been valid only if enacted by the legislature through general law procedures, or at least by the
LBB itself through a formal resolution under chapter 316.  Because this upward adjustment of the
spending cap was invalid, Plaintiffs assert, the cap remained at $52.145 billion, a level that
undisputedly was exceeded by subsequent appropriations for that biennium. 

		In the alternative, Plaintiffs allege that H.B. 1's appropriation "cause[s] total
appropriations to exceed even the unapproved staff-generated limit by $1.3 billion
dollars."&nbsp;&nbsp;Plaintiffs allege--and the State Defendants acknowledge--that "based on the
appropriation[s]&nbsp;made&nbsp;prior to the 2006 special session, the Legislature had appropriated $53.0
billion in Non-Dedicated&nbsp;General  Revenue Related Funds."  Plaintiffs concede that this left $2.6 

billion in appropriations&nbsp;from&nbsp;non-dedicated state tax revenues that could have been made without
exceeding "the&nbsp;$55.6&nbsp;billion staff generated unapproved limit." (16)  Because H.B. 1's appropriation
was $3.9&nbsp;billion, Plaintiffs&nbsp;allege, it "caused total appropriations to exceed even the unapproved
staff-generated limit&nbsp;by $1.3 billion dollars."

		Plaintiffs request declarations including that "the appropriation in H.B. 1 . . . is
unconstitutional on the basis that i[t] exceeds the mandates of Article VIII, Section 22(a) as applied
since its enactment, or alternatively that said appropriation is unconstitutional on the basis that it
exceeds the mandates of Article VIII, Section 22(a) as applied over the last biennium, or alternatively
that said appropriation is unconstitutional because it exceeds even the extremely generous and faulty
estimates provided by the Legislative Budget Board and is, according to the LBB's own calculations,
in violation of Article VIII, Section 22(a)."

Proceedings below

		The State Defendants filed a plea to the jurisdiction (17) challenging only the sufficiency
of Plaintiffs' pleadings; they did not challenge the jurisdictional facts Plaintiffs pleaded or submit
evidence in support of their plea.  The State Defendants argued that Plaintiffs failed sufficiently to 

plead standing or an ultra vires act (so as to avoid sovereign immunity (18)) and that the claims present
non-justiciable political questions.  Following a brief hearing at which neither side presented
evidence, the district court ruled from the bench that it would grant the State Defendants'
jurisdictional plea and dismiss Plaintiffs' suit.  This appeal followed.


DISCUSSION

		On appeal, Plaintiffs bring a single issue complaining that the district court erred or
abused its discretion in granting the State Defendants' plea to the jurisdiction.

Standard of review

		A challenge to a trial court's subject matter jurisdiction may be asserted in a plea to
the jurisdiction.  Texas Dep't of Parks &amp; Wildlife v. Miranda, 133 S.W.3d 217, 225-26 (Tex. 2004);
Bland Indep. Sch. Dist. v. Blue, 34 S.W.3d 547, 554 (Tex. 2000).  Whether a court has subject matter
jurisdiction is a question of law.  Miranda, 133 S.W.3d at 226.  The determination of whether a trial
court has subject matter jurisdiction begins with the pleadings.  Id.  The pleader has the initial burden
of alleging facts that affirmatively demonstrate the trial court's jurisdiction to hear the cause.  Id. 
(citing Texas Ass'n of Bus. v. Texas Air Control Bd., 852 S.W.2d 440, 446 (Tex. 1993)).  Whether
the pleader has met this burden is a question of law that we review de novo.  Id.  We construe the
pleadings liberally and look to the pleader's intent.  Id.  If the pleadings do not contain sufficient
facts to affirmatively demonstrate the trial court's jurisdiction but do not affirmatively demonstrate 

incurable defects in jurisdiction, the issue is one of pleading sufficiency and the plaintiffs should be
afforded the opportunity to amend.  Id. at 226-27; Elgin Indep. Sch. Dist. v. R.N., 191 S.W.3d 263,
272 (Tex. App.--Austin 2006, no pet.).  If the pleadings affirmatively negate the existence of
jurisdiction, then a plea to the jurisdiction may be granted without allowing the plaintiffs an
opportunity to amend.  Miranda, 133 S.W.3d at 227.

		However, "a court deciding a plea to the jurisdiction is not required to look solely to
the pleadings but may consider evidence and must do so when necessary to resolve the jurisdictional
issues raised."  Bland, 34 S.W.3d at 555.  "When a plea to the jurisdiction challenges the existence
of facts alleged by the pleader to establish the trial court's subject matter jurisdiction, the trial court
must consider relevant evidence submitted by the parties." Miranda, 133 S.W.3d at 227 (citing
Bland, 34 S.W.3d at 555).  To varying degrees, this jurisdictional inquiry may also implicate the
merits of the pleader's cause of action.  Compare Bland, 34 S.W.3d at 554-55 (citing challenges to
associational standing and personal jurisdiction as entailing "an evidentiary inquiry [that] . . . does
not involve a significant inquiry into the substance of the claims" and holding that challenge to
taxpayer standing did not implicate merits), with Miranda, 133 S.W.3d at 227-28 (describing
overlapping jurisdictional and merits inquiry regarding challenge to whether parks and wildlife
department acted with gross negligence so as to waive sovereign immunity under the recreational
use statute).  When the consideration of a trial court's subject matter jurisdiction requires the
examination of evidence, the trial court exercises its discretion in determining whether the
jurisdictional determination should be made at a preliminary hearing or await fuller development of
the case, mindful that the jurisdictional determination must be made as soon as practicable. 
Miranda, 133 S.W.3d at 227-28.

		"[I]n a case in which the jurisdictional challenge implicates the merits of the
plaintiff's cause of action and the plea to the jurisdiction includes evidence, the trial court reviews
the relevant evidence to determine if a fact issue exists."  Id. at 227.  This standard, which "generally
mirrors that of a summary judgment under Texas Rule of Civil Procedure 166a(c)," seeks to
reconcile "the fundamental precept that a court must not proceed on the merits of a case until
legitimate challenges to its jurisdiction have been decided" while "protect[ing] the interests of the
state and the . . . claimants in cases . . . in which the determination of the subject matter of the court
implicates the merits of the parties' cause of action."  Id. at 227-28.  Accordingly, when reviewing
a plea to the jurisdiction in which the pleading requirement has been met and evidence has been
submitted to support the plea that implicates the merits of the case, we take as true all evidence
favorable to the nonmovant and indulge every inference and resolve any doubt in the nonmovant's
favor.  Id. at 228.  Whether the evidence presents a fact question regarding a jurisdictional fact is a
question of law that we review de novo.  Id.

		Because the district court did not specify its grounds for dismissal, we may affirm on
any meritorious ground on which the court could have relied.  See Atmos Energy Corp. v. Abbott,
127 S.W.3d 852, 855 (Tex. App.--Austin 2004, no pet.); cf. Provident Life &amp; Accident Ins. Co. v.
Knott, 128 S.W.3d 211, 216 (Tex. 2004) (applying principle in summary judgment context).

		In the district court, as previously noted, the State Defendants challenged only the
sufficiency of Plaintiffs' pleadings; they did not challenge jurisdictional facts or introduce evidence
to support their jurisdictional plea.  However, Plaintiffs did attach evidence to their petition. 
On&nbsp;appeal, the State Defendants attempt to broaden their challenge to attack certain jurisdictional
facts underlying Plaintiffs' alternative claim that H.B. 1's appropriation "exceeds  even the extremely

generous and faulty estimates provided by the Legislative Budget Board and is, according to the
LBB's own calculations, in violation of Article VIII, Section 22(a)."  Specifically, they attach to their
brief two public records they assert conclusively establish that H.B. 1's appropriation did not exceed
the spending cap as determined by the LBB:  (1) the entirety of the Comptroller's April 17, 2006
"Revenue Estimate for the 79th Legislature, Third Called Session," (19) and (2) an April 27, 2006
memo from the LBB's deputy director to the Lieutenant Governor and Speaker stating that $3.95
billion in additional appropriations could be made from general revenue "without exceeding the
Article VIII, Section 22 limit." (20)  The State Defendants acknowledge that these documents "were
not&nbsp;before the trial court," but request us to take judicial notice of them, urging that the facts
stated&nbsp;within them are not subject to reasonable dispute and are capable of accurate and
ready&nbsp;ascertainment from reliable public sources.  See Tex R. Evid. 201.

		Plaintiffs reply that the State Defendants are inappropriately seeking to litigate
the&nbsp;merits of their claims in the guise of a jurisdictional challenge.  Allowing them to do so,
especially&nbsp;if&nbsp;allowed "to change theories and introduce evidence [on] appeal," Plaintiffs urge,
is&nbsp;inconsistent&nbsp;with supreme court precedent and "fundamental notions of due process." 
In&nbsp;any&nbsp;event,&nbsp;Plaintiffs contend, the new documents "have no bearing" on whether the State
Defendants&nbsp;complied with the spending cap.

		We will address the specific question of whether we may consider the jurisdictional
challenge and evidence that the State Defendants seek to raise on appeal as they become relevant to
our analysis.  However, the parties' respective arguments suggest that we should clarify here some
broader principles governing our review.  To the extent that Plaintiffs suggest that it is categorically
improper to adjudicate, through a jurisdictional plea, jurisdictional issues that implicate or overlap
the merits, that notion is belied by Miranda.  See Miranda, 133 S.W.3d at 227-28 (regarding whether
parks and wildlife department acted with gross negligence so as to waive sovereign immunity under
the recreational use statute).  It is also well-established that where a trial court's jurisdiction depends
upon whether a state official's acts are within her constitutional or statutory authority, such as when
a plaintiff alleges ultra vires action to avoid sovereign immunity, the trial court may sometimes be
able to decide the jurisdictional issue as a matter of law based on the pleadings by construing the
constitutional and statutory provisions defining the actor's authority and ascertaining whether the
acts alleged would exceed that authority.  See, e.g., McLane Co. v. Strayhorn, 148 S.W.3d 644, 649
(Tex. App.--Austin 2004, pet. denied) (acknowledging that in determining whether declaratory
judgment suit may be maintained against a state official, it was first necessary, in light of sovereign
immunity principles, to construe statutes defining official's powers to "decide whether the [official]
validly exercised her discretion or acted outside of her legal authority."); cf. Director of Dept. of
Agric. &amp; Environ. v. Printing Indus. Ass'n, 600 S.W.2d 264, 265-70 (Tex. 1980) (construing
constitution to determine whether plaintiff alleged ultra vires action by state officials; state had
raised issue via special exceptions). (21)  And Miranda would further allow jurisdictional challenges,
via its summary judgment-like process, to the&nbsp;existence of the alleged acts that are asserted to have
been beyond the actor's constitutional&nbsp;or&nbsp;statutory authority.

		Yet this does not mean that defendants and trial courts have free reign to "require[]
that the plaintiff prove his case . . . at the pleading stage, before any discovery has been conducted,"
as Plaintiffs contend occurred here.  To succeed, a defendant challenging a jurisdictional fact via a
plea to the jurisdiction must satisfy the same initial burden as in a "traditional" summary
judgment--conclusively negating the existence of the fact--and judgment is proper in such instance
only if the plaintiff cannot present controverting evidence raising a genuine issue of material fact.
Miranda, 133 S.W.3d at 227-28.  More generally, a trial court must exercise sound discretion in
deciding whether a jurisdictional determination implicating the merits "should be made at a
preliminary hearing or await a fuller development of the case, mindful that this determination must
be made as soon as practicable."  Id. at 227; see Bland, 34 S.W.3d at 554.  It follows that a trial
court's decision to determine a jurisdictional issue implicating the merits at a particular preliminary
stage of case development may be so arbitrary or unreasonable, given the state of the record, that
it&nbsp;constitutes an abuse of discretion. Cf. Davis v. Burnam, 137 S.W.3d 325, 334-35
(Tex.&nbsp;App.--Austin 2004, no pet.) (vacating trial court's denial of jurisdictional plea turning
on&nbsp;statutory construction to determine whether alleged acts were ultra vires; defendant
had&nbsp;inadequate notice to&nbsp;brief and argue the issue).

Political question/self-executing constitutional provision 

		The State Defendants argue that the district court's dismissal of Plaintiffs' claims
should be affirmed because the court lacked subject matter jurisdiction to provide a remedy for any
alleged violation of article VIII, section 22.  They attempt to invoke the political question doctrine
and the related doctrine of self-executing constitutional provisions, each of which emanate from
separation-of-powers concepts.  Long recognized in Texas law, the doctrine of self-executing
constitutional provisions is concerned with whether a provision confers sufficiently determinate
standards to permit judicial ascertainment and enforcement:


A constitutional provision is said to be self-executing if it supplies a sufficient rule
by means of which the right given may be enjoyed and protected, or the duty imposed
may be enforced; and it is not self-executing when it merely indicates
principles,&nbsp;without laying down rules by means of which these principles may
be&nbsp;given force of law.



Neeley, 176 S.W.3d at 782 (quoting Mitchell County v. City Nat'l Bank, 43 S.W. 880, 883-84
(Tex.&nbsp;1898) (quoting T. Cooley, Constitutional Limitations 99-100 (6th ed. 1890))).  Similarly, a
"political question," at least as it has been defined in the federal courts, is one that involves (1) "a
lack of judicially discoverable and manageable standards for resolving it," or (2) "a textually
demonstrable constitutional commitment to a coordinate political department."  Id. at 777-78
(quoting Baker v. Carr, 369 U.S. 186, 217 (1963)).

		The State Defendants argue that article VIII, section 22(a), by requiring that "[t]he
legislature shall provide by general law procedures to implement this subsection," including a
method for determining "the estimated rate of growth of the state's economy," embodies a "textually
demonstrable constitutional commitment" of these matters to the legislature.  See Tex. Const. art.
VIII, section 22(a).  And the requirement that "[i]n no biennium shall the rate of growth of
appropriations from state tax revenues not dedicated by this constitution exceed the estimated rate
of growth of the state's economy," the State Defendants urge, does not provide sufficiently definite
standards to permit judicial determination and enforcement.

		The State Defendants equate article VIII, section 22(a) to the constitutional provision
addressed in City of Corpus Christi v. City of Pleasanton, 276 S.W.2d 798, 803 (Tex. 1955).  In City
of Pleasanton, the supreme court applied the doctrine of self-executing constitutional provisions to
article XVI, section 59 of the Texas Constitution, which declares that "[t]he conservation and
development of all the natural resources of this State [are] public rights and duties" and requires the
legislature to "pass all such laws as may be appropriate thereto."  Tex. Const. art. XVI, § 59.  The
court held that this provision did not provide courts a basis to declare "what types of conduits and
reservoirs may be used for the transportation and storage of water, lawfully obtained and
lawfully&nbsp;used" or "declare the use of certain types of conduits and reservoirs to be unlawful
when&nbsp;the&nbsp;Legislature, by necessary implication, has declared them to be lawful." City of
Pleasanton,&nbsp;276 S.W.2d at 803.

		The State Defendants also rely on a prior decision of this Court in which we held that
the former article III, section 61 of the Texas Constitution did not confer a judicially enforceable
right. Texas Workers' Comp. Comm'n v. City of Bridge City, 900 S.W.3d 411, 414-15
(Tex.&nbsp;App.--Austin 1995, writ denied).  Article III, section 61 provided:


The Legislature shall have the power to enact laws to enable cities, towns, and
villages . . . to provide Workmen's Compensation Insurance . . . and the Legislature
shall provide suitable laws for the administration of such insurance in the said
municipalities and for payment of the costs, charges, and premiums on policies of
insurance and the benefits to be paid thereunder.



Tex. Const. art. III, § 61 (repealed November 6, 2001).  We held that "the question of what is a
'suitable' law is not within the power of a court to decide.  By its very nature, it is a political
question committed to the legislature because it calls for pure public policy decisions beyond a
court's competence."  City of Bridge City, 900 S.W.3d at 415.

		Plaintiffs contend that article VIII, section 22(a) is comparable to article VII, section
1 of the Texas Constitution, and emphasize the Texas Supreme Court's jurisprudence holding that
this provision is self-enforcing to the extent of prohibiting inconsistent laws and that claims under
it do not present non-justiciable political questions.  Article VII, section 1 provides:


A general diffusion of knowledge being essential to the preservation of the liberties
and rights of the people, it shall be the duty of the Legislature of the State to establish
and make suitable provision for the support and maintenance of an efficient system
of public free schools.



Tex. Const. art. VII, § 1.  The supreme court has repeatedly reaffirmed that challenges under this
provision to the "efficiency," "adequacy" and "suitability" of Texas's public school finance system
do not present non-justiciable political questions.  See Neeley, 176 S.W.3d at 776-80. (22) 
Most&nbsp;recently, in Neeley, the court assumed without deciding that the Baker v. Carr test applied to
the Texas Constitution and reaffirmed that claims under article VII, section 1 did not present political
questions.  Id.  While acknowledging that article VII, section 1 "commits to the Legislature, the most
democratic branch of the government, the authority to determine the broad range of policy issues in
providing for public education," id. at 778, the court reiterated that "[t]his duty is not committed
unconditionally to the legislature's discretion, but instead is accompanied by standards."  Id. at 776
(quoting Edgewood Indep. Sch. Dist. v. Kirby, 777 S.W.2d 391, 394 (Tex. 1989) ("Edgewood I")). 
As for whether those "standards" were capable of judicial enforcement, the supreme court stated: 


Nor do we agree with the State defendants that the constitutional standards of
adequacy, efficiency, and suitability are judicially unmanageable.  These standards
import a wide spectrum of considerations and are admittedly imprecise, but they are
not without content. . . .  The judiciary is well-accustomed to applying substantive
standards the crux of which is reasonableness.  This is not to say that the standards
in article VII, section 1 involve no political considerations beyond the judiciary's
power to determine.  We have acknowledged that much of the design of an adequate
public education system cannot be judicially prescribed.  Litigation over the adequacy
of public education may well invite judicial policy-making, but the invitation need
not be accepted.  The judiciary's choice is not between complete abstinence from
article VII, section 1 issues, and being, in the State defendants' words, "the arbiter
of education and policy, overseeing such issues as curriculum and testing
development, textbook approval, and teacher certification."  Rather, the judiciary's
duty is to decide the legal issues properly before it without dictating policy matters. 
The constitutional standards provide an appropriate basis for judicial&nbsp;review and
determination.



Id. at 778-79; see also Edgewood I, 777 S.W.2d at 394 ("By express constitutional mandate, the
legislature must make 'suitable' provision for an 'efficient' system for the 'essential' purpose of a
'general diffusion of knowledge.'  While these are admittedly not precise terms, they do provide
a&nbsp;standard by which this court must, when called upon to do so, measure the constitutionality of
the&nbsp;legislature's actions.").

		The Neeley court similarly rejected the contention that article VII, section 1 was not
self-executing and not susceptible to judicial action to enforce its provisions.  176 S.W.3d at 782-83. 
While recognizing that article VII, section 1 was not "self-executing" in the sense of mandating
the&nbsp;specific means through which the legislature must comply with its duty under that provision,
the&nbsp;court held that it was "self-executing" to the extent of prohibiting legislative action
inconsistent&nbsp;with the provision:


The standards of article VII, section 1--adequacy, efficiency, and suitability--do not
dictate a particular structure that a system of free public schools must have.  We have
stressed this repeatedly. . . .  But . . . article VII, section 1 dictates what the public
education system cannot be:  it cannot be so inadequate that it does not provide for
a general diffusion of knowledge, or so inefficient that districts which must achieve
this general diffusion of knowledge do not have substantially equal access to
available revenues to perform their mission, or so unsuitable that it cannot because
of its structure achieve its purpose.


Thus, we agree with the State defendants that article VII, section 1 does not provide
the courts a basis for declaring what education or finance systems will alone satisfy
its standards.  But the provision is self-executing insofar as it prohibits any system
that fails to meet those standards.



Id. at 783 (footnotes omitted).  For this distinction, the supreme court relied on the rationale of
Mitchell County v. City Nat'l Bank, 43 S.W. at 883-84.  Mitchell County involved two sections
of&nbsp;article XI of the Texas Constitution--section 2, which states that "[t]he construction of jails,
court-houses and bridges . . . shall be provided for by general laws," and section 7, which prohibited
cities and counties from incurring debt for certain projects without imposing taxes for a sinking fund
to repay the debt--and article VIII, section 9, which limited the amount of certain taxes that cities
and counties could impose.  Tex. Const. arts. VIII, § 9, XI, §§ 2, 7.  The Mitchell County court stated
that "[i]n the sense that all laws in conflict with these prohibitions are void, section 9 of article 8 and
section 7 of article 11 are self-executing; but, in so far as anything is required to be done to carry
them into effect, they are not so, because they prescribe no rules by which any act could be done in
the enforcement of their requirements."  43 S.W. at 882-83; see Neeley, 176 S.W.3d at 782
(summarizing this holding:  "the constitutional provisions were self-executing only in prohibiting
conflicting laws and did not preclude statutes passed to effectuate the provisions.").

		We agree with Plaintiffs that the Texas Supreme Court's jurisprudence under article
VII, section 1 compels us to hold that article VIII, section 22 is self-executing to the extent of
prohibiting legislative action inconsistent with its provisions, and that Plaintiffs' claims of violations
do not present non-justiciable political questions. (23)  Although the legislature is delegated the
authority to make laws to implement article VIII, section 22(a), this is not the sort of broad
delegation to enact "laws as may be appropriate" at issue in City of Pleasanton, 276 S.W.2d at 803, 
or even the mandate to "provide suitable laws" we addressed in City of Bridge City.  This authority
is&nbsp;"not committed unconditionally to the legislature's discretion, but instead is accompanied by
standards."  Neeley, 176 S.W.3d at 776-77 (quoting Edgewood I, 777 S.W.2d at 394).  Specifically,
legislation that purports to implement the requirement that "[i]n no biennium shall the rate of growth
of appropriations from state tax revenues not dedicated by this constitution exceed the estimated
rate&nbsp;of growth of the state's economy" must necessarily be consistent with those standards. 
Mitchell&nbsp;County, 43 S.W. at 882-83.

		Although the standards of article VIII, section 22(a) "are admittedly not precise
terms,"  Neeley, 176 S.W.3d at 776-77 (quoting Edgewood I, 777 S.W.2d at 394), they surely must
be considered sufficiently determinable and enforceable by courts if, as the supreme court has held,
such nebulous concepts as "adequacy," "efficiency," and "suitability" under article VII, section 1 are.
In sum, article VIII, section 22(a) gives the legislature the "sole right to decide how to meet the
standards set by the people" in that provision, but "the Judiciary has the final authority to determine
whether they have been met."  Id. at 777 &amp; n.169 (quoting West Orange-Cove Consol. Indep. Sch.
Dist. v. Alanis, 107 S.W.3d 558, 563-64 (Tex. 2003)).

		Our reasoning is further informed by the Neeley court's observations that non-justiciable political questions are rare, id. at 779-80, and that City of Pleasanton is the sole instance
in which it has used the doctrine of self-executing constitutional provisions to preclude judicial
action.  Id. at 782-83.  We are also mindful of the supreme court's observations that while the Texas
Constitution does not empower the judicial branch to engage in legislative policymaking in the
guise&nbsp;of constitutional interpretation, neither does it permit courts to avoid their duties, when
called&nbsp;upon, to strike down laws that are inconsistent with constitutional provisions.  Id. at 776-82.
As the supreme court observed when first summoned to strike down an act of the
Republic&nbsp;of&nbsp;Texas&nbsp;Congress:



[W]e have not been unmindful of the magnitude of the principles involved, and the
respect due to the popular branch of the government. . . .  Fortunately, however, for
the people, the function of the judiciary in deciding constitutional questions is not
one which it is at liberty to decline. . . .  [We] cannot, as the legislature may, avoid
a measure because it approaches the confines of the constitution; [we] cannot pass
it by because it is doubtful; with whatever doubt, with whatever difficulties a case
may be attended, [we] must decide it, when it arises in judgment.


Morton v. Gordon, Dallam 396, 397-98 (Tex. 1841); see also Neeley, 176 S.W.3d at 777 ("what this
court said [in Morton] . . . is still true.").

		Because article VIII, section 22 is self-executing to the extent of prohibiting
legislative action inconsistent with its standards, which are judicially ascertainable, and because
Plaintiffs' claims that these standards have been violated do not present a non-justiciable political
question, we cannot affirm the district court's order of dismissal based on these doctrines.

Unlawful appropriation

		The State Defendants further contend that Plaintiffs lack standing and that their
claims are barred by sovereign immunity because they have not, and cannot, assert a valid claim that
H.B. 1's appropriation is unlawful.  Plaintiffs pleaded that they have standing as "residential and
business taxpayers," an allegation that we construe, in the context of their other allegations, to assert
that they pay state taxes that could establish taxpayer standing. (24)  The Texas Supreme Court has
explained that "[i]n general, taxpayers do not have a right to bring suit to contest government
decision-making because . . . governments cannot operate if every citizen who concludes that a
public official has abused his discretion is granted the right to come into court and bring such
official's public acts under review."  Bland, 34 S.W.3d at 555 (quoting Osborne v. Keith, 177
S.W.2d 198, 200 (Tex. 1944)).  Unless standing is conferred by statute, (25) taxpayers must show as
a rule that they have suffered a particularized injury distinct from that suffered by the general public
in order to have standing to challenge a government action or assert a public right.  Id at 555-56. 
Texas law, however, has long recognized an important exception to this general rule:  a taxpayer has
standing to sue in equity to enjoin the illegal expenditure of public funds, even without showing a
distinct injury.  Id.

		Plaintiffs contend that their pleadings allege facts bringing them within this exception. 
The foundation of their standing theory is their contention that they have alleged sufficient facts that,
if proven, would establish that H.B. 1 violates article VIII, section 22 or chapter 316 (which, they
reason, would render illegal any expenditures made under the appropriation).  See Tex. Const. art.
VIII, § 6 (forbidding expenditure of state funds "but in pursuance of specific appropriations made
by law"). (26)  For the same reasons, Plaintiffs urge that they have pleaded a valid claim of ultra vires 
action that is not barred by sovereign immunity.  See, e.g., Cobb v. Harrington, 190 S.W.2d 709, 712
(Tex. 1945) (recognizing that sovereign immunity does not bar claim of ultra vires acts);
McClane&nbsp;Co., 148 S.W.3d at 649.

		We conclude that the district court would have abused its discretion if it dismissed
on this basis Plaintiffs' claims that (1) the use of personal income as the "sole barometer" of "the
estimated rate of growth of the state's economy" causes the spending caps set on that basis to permit
unconstitutionally excessive appropriations, and that H.B. 1 is such an appropriation; and (2) their
alternative claim that the H.B. 1 appropriation "exceeds even the extremely generous and faulty
estimates provided by the Legislative Budget Board."  The dispositive issues--as they have evolved
on appeal--controlling whether Plaintiffs have validly pleaded each theory were not raised,
briefed,&nbsp;or developed in the district court.

		In their plea to the jurisdiction, the State Defendants contended that Plaintiffs' claim
regarding the use of personal income to set the spending cap did not validly allege unlawful conduct
because the State Defendants had complied with section 316.002 of the government code, which
required the use of the personal income measure.  As for whether section 316.002 itself might violate
article VIII, section 22, the State Defendants did not address that claim other than to comment that
"if Plaintiffs succeed in invalidating § 316.002(b)," injunctive relief (which Plaintiffs had not
requested) would be "premature" because the law presumes that the State Defendants would comply
with a declaration of the statute's invalidity.  On appeal, in response to questions from the Court
during oral argument, the parties have begun to address one aspect of a determination of whether
Plaintiffs' allegations assert a valid claim that H.B. 1's appropriation is unlawful:  the standard for
establishing a violation of article VIII, section 22(a).  The parties concur that the appropriate standard
is arbitrariness, the standard that the supreme court has applied to claims challenging Texas's public
school finance system under article VII, section 1.  See Neeley, 176 S.W.3d at 783-85. (27)  Yet much
remains to be addressed concerning how this standard would apply here.  Because the parties have
not had an adequate opportunity to develop these issues, the district court would have abused its
discretion by dismissing Plaintiffs' claim on this basis.  See Davis, 137 S.W.3d at 335 &amp; n.16. 

		Similarly, the State Defendants did not separately challenge the district court's subject
matter jurisdiction over Plaintiffs' alternative claim that H.B. 1's appropriation, even by the LBB's
own measures under section 316.002(b), exceeded the spending cap.  On appeal, as previously noted,
the State Defendants attempt to initiate a challenge to the jurisdictional fact of whether H.B. 1's
appropriation exceeded the spending limit set by the LBB, which they attempt to support with
evidence they did not present to the district court.  Although subject matter jurisdiction, as a general 

principle, may be challenged for the first time on appeal (and may be raised by an appellate court sua
sponte), see Texas Ass'n of Bus., 852 S.W.2d at 445-46 (considering associational standing of
appellant sua sponte), (28)
 there are limits to this principle where the challenge concerns jurisdictional
evidence.  Miranda indicates that where, as here, the challenge concerns a jurisdictional fact that
implicates the merits, such challenges must (1) be raised in the trial court, and (2) be supported by
jurisdictional evidence that conclusively negates the existence of the challenged jurisdictional fact. 
This standard thus "generally mirrors" a "traditional" summary judgment motion.  Miranda, 133
S.W.3d at 227-28 (citing Tex. R. Civ. P. 166a(a)).  The supreme court explained that this standard
appropriately balances the competing interests of the state and claimants in cases where jurisdictional
issues also implicate the merits:


We adhere to the fundamental precept that a court must not proceed on the merits of
a case until legitimate challenges to its jurisdiction have been decided.  This standard
accomplishes this goal and more.  It also protects the interests of the state and the
injured claimants in cases like this one, in which the determination of the subject
matter jurisdiction of the court implicates the merits of the parties' cause of action. 
The standard allows the state in a timely manner to extricate itself from litigation if
it is truly immune.  However, by reserving for the fact finder the resolution of
disputed jurisdictional facts that implicate the merits of the claim or defense, we
preserve the parties' right to present the merits of their case at trial.  Similar to the
purpose of a plea to the jurisdiction, which is to defeat a cause of action for which the
state has not waived sovereign immunity (usually before the state has incurred the
full costs of litigation), the purpose of summary judgments in Texas is "'to eliminate
patently unmeritorious claims and untenable defenses.'"  Casso v. Brand, 776
S.W.2d 551, 556 (Tex. 1989) (quoting City of Houston v. Clear Creek Basin Auth.,
589 S.W.2d 671, 678 n.5 (Tex. 1979)).  By requiring the state to meet the summary
judgment standard of proof in cases like this one, we protect the plaintiffs from
having to "put on their case simply to establish jurisdiction."  Bland, 34 S.W.3d at
554.   Instead, after the state asserts and supports with evidence that the trial court
lacks subject matter jurisdiction, we simply require the plaintiffs, when the facts
underlying the merits and subject matter jurisdiction are intertwined, to show that
there is a disputed material fact regarding the jurisdictional issue.  See Huckabee v.
Time Warner Entm't Co. L.P., 19 S.W.3d 413, 420 (Tex. 2000); Phan Son Van v.
Pena, 990 S.W.2d 751, 753 (Tex. 1999).

	

Miranda, 133 S.W.3d at 228.

		When reviewing a summary judgment, an appellate court cannot consider
independent grounds--much less summary judgment evidence--not presented to the trial court.  See,
e.g., Cincinnati Life Ins. Co. v. Cates, 927 S.W.2d 623, 626 (Tex. 1996).  We believe that Miranda
compels the same result regarding the State Defendants' attempt to attack jurisdictional
facts&nbsp;with&nbsp;evidence on appeal. (29)  We therefore cannot affirm the district court's dismissal of this
claim&nbsp;on&nbsp;this ground. (30) 

		However, the district court would not have erred or abused its discretion in&nbsp;dismissing
Plaintiffs' "unlawful delegation" claim based on the record before it.  Plaintiffs' pleadings regarding
that claim demonstrate fatal and incurable jurisdictional defects.  See&nbsp;Miranda, 133 S.W.3d at 226-27.  Plaintiffs allege that the legislature violated separation-of-powers principles by improperly
delegating its legislative powers over the spending cap to the LBB or its staff.  See Tex. Const. art.
II, § 1, interpretive commentary ("A settled maxim of constitutional law is that the power conferred
upon the legislature to make laws cannot be delegated by that department to any other body or
authority.").  However, as our earlier discussion of chapter 316 illustrates, the only "delegation" of
legislative power that Plaintiffs attack is merely an assignment of duties within the legislative branch
akin to each chamber's referral of bills to committees prior to consideration before the entire
chamber.  The Texas Constitution not only contemplates but requires each chamber of the legislature
to refer all bills to a committee, which must report the bill before consideration by the entire
chamber.  Tex. Const. art. III, § 37.  In similar fashion, the LBB, a permanent joint committee of the
Texas Legislature, Tex. Gov't Code. Ann. § 322.001(a), proposes for each chamber's consideration
budget and policy recommendations regarding proposed legislative appropriations, including a draft
General Appropriations Act each session, id. § 322.008(c); fiscal impact statements regarding other
proposed legislation, id. § 314.001; and calculations of the spending cap.  As with bills reported from
other legislative committees, the ultimate legislative power--whether a bill containing an
appropriation is passed, amended,&nbsp;or&nbsp;rejected--remains not with the LBB or its staff, but with each
respective&nbsp;chamber and its&nbsp;individual members, who can utilize several procedural mechanisms to
resist passage of&nbsp;bills&nbsp;containing appropriations they believe would exceed the spending cap. 
Id.&nbsp;§§&nbsp;316.006,&nbsp;316.008.  Plaintiffs accordingly cannot allege a violation of the constitutional
separation of powers on this basis.

Other standing issues

		The State Defendants raise additional, potentially dispositive challenges to Plaintiffs'
pleadings of standing.  As previously noted, Plaintiffs rely on the exception to general standing
requirements that permits a taxpayer to sue in equity to enjoin the illegal expenditure of state funds,
even without showing a distinct injury.  See Williams v. Lara, 52 S.W.3d 171, 180 (Tex. 2001);
Bland, 34 S.W.3d at 555-56; Calvert v. Hull, 475 S.W.2d 907, 908 (Tex. 1972) (citing with approval
Osborne v. Keith, 177 S.W.2d 198, 200-01 (Tex. 1944); City of Austin v. McCall, 68 S.W. 791, 793-94 (Tex. 1902); Terrell v. Middleton, 187 S.W. 367, 368-70 (Tex. Civ. App.--San Antonio 1916),
writ ref'd, 191 S.W. 1138 (Tex.&nbsp;1918)).  Plaintiffs contend that, because their pleadings allege that
the H.B. 1 appropriation is unconstitutional and illegal, they necessarily complain of the "specific
illegal&nbsp;expenditure" of state funds made pursuant to that appropriation.  See Tex. Const. art. VIII,&nbsp;§&nbsp;6
(requiring that state funds not be expended "but in pursuance of specific appropriations made by
law").  In addition to their challenges to Plaintiffs' predicate allegations that the H.B. 1 appropriation
is illegal, the State Defendants contend that Plaintiffs fail to allege illegal expenditures sufficient to
bring them within the taxpayer standing exception.  Specifically, the State Defendants urge that (1)
Plaintiffs were required to plead that expenditures are being made for particular illegal purposes or
ends, not merely that the amount of the appropriations authorizing the expenditures would exceed
the spending cap; and (2) the expenditures that Plaintiffs challenge should be deemed already spent. 
See Bland, 34 S.W.3d at 556-57. (31)

		Regarding the State Defendants' first argument, we disagree that Plaintiffs lack
standing to challenge "specific illegal expenditures" because they complain that a limit has been
exceeded and do not allege that the expenditures are directed specifically to unlawful purposes. 
While many of the cases upholding taxpayer standing to enjoin illegal expenditures have involved
challenges to the legality of those expenditures' purposes, (32) we&nbsp;disagree that such facts preclude the
application of the taxpayer standing exception here.  We see no meaningful distinction, for example,
between a taxpayer suit to enjoin expenditures under an allegedly void or illegal contract, long
permitted in Texas law, see Osborne, 177 S.W.2d at 200-01; McCall, 68 S.W. at 793-94, and a
taxpayer suit to prevent expenditures under an unlawful legislative appropriation, as Plaintiffs allege
here.  In fact, state taxpayers have been permitted to sue to enjoin state expenditures based on
allegations that the expenditures would not be pursuant to a valid appropriation.  See Johnson v.
Ferguson, 55 S.W.2d 153, 155 (Tex. App.--Austin 1932, writ dism'd) (challenging grant of
temporary injunction prohibiting further state highway construction contracts because there was not
any legislative appropriation available for that purpose); Terrell, 187 S.W. at 374 (challenging
appropriation of $2,000 and additional $1,500 deficiency appropriation for Governor's personal
expenses).  Similarly, county taxpayers have long been permitted to sue to enjoin county
expenditures not properly authorized in a budget, in contravention of the Uniform Budget Act.  See
Garcia v. State, 290 S.W.2d 555, 559 (Tex. Civ. App.--San Antonio 1953, writ ref'd n.r.e.); Guerra
v. McClellan, 243 S.W.2d 715, 717 (Tex. Civ. App.--San Antonio 1951, no writ); see also Act of
May 21, 1931, 42nd Leg., R.S., ch. 206, 1929-31 Tex. Gen. Laws 339, repealed by Act of April 30,
1987, 70th Leg., R.S., ch. 149, § 49(1), 1987 Tex. Gen. Laws 707, 1306 (current version at Tex. Loc.
Gov't Code Ann. §§ 111.010, .039(b) (West 1999)).  We reject the State Defendants' narrow view
of the taxpayer standing exception. (33)

		Turning to the State Defendants' second argument, it is well-established
that&nbsp;taxpayers have standing only to challenge prospective state expenditures, but do not
have&nbsp;standing to complain of public funds that have already been spent.  As the supreme&nbsp;court
has&nbsp;explained:


When a taxpayer brings an action to restrain the illegal expenditure . . . of tax money
he sues for himself, and it is held that his interest in the subject-matter is sufficient
to support the action; but when the money had already been spent, an action for its
recovery is for the [taxing entity].  The cause of action belongs to it alone.



Hoffman v. Davis, 100 S.W.2d 94, 95 (Tex. 1937); see Bland, 34 S.W.3d at 556-58.  The State
Defendants assert that the expenditures authorized under the appropriations in H.B. 1 "have
essentially already been spent."  They apparently mean this in a functional rather than literal sense. 
The State Defendants urge that "schools across the state have relied on this funding in planning their
yearly budgets as though they have been received and placed in permanent use," and that "[t]o
reverse the appropriation would upset the settled expectations of the district and their employees." 
The State Defendants rely on an extension of the principles applied in Bland.

		In Bland, taxpayers sued to enjoin a school district from making payments under what
they contended was an invalid lease-purchase agreement with Citicorp.  The district had entered into
the agreement to help finance the construction of a new high school.  By the time of suit, the new
building had already opened, the district had paid the contractor in full, and the only obligation that
remained was for the district to make semiannual loan repayments to Citicorp through 2011.  34
S.W.3d at 549-50.  Under these circumstances, the supreme court held that the taxpayers lacked
standing to sue the school district to enjoin the future loan repayments.  The court explained:


We are not inclined to extend the exception to taxpayer standing to include the Blues'
suit.  The jurisprudential justification for taxpayer suits to enjoin performance of
illegal agreements is that the interference such suits pose to government activities is
slight in comparison to the protection afforded taxpayers from preventing the
culmination of illegal agreements made by public officials.  But the balance in costs
and benefits shifts significantly once the governmental entity has received all that it
bargained for and must simply pay for it.  We need not decide here whether a
governmental entity's receipt of something less than full performance under an
allegedly illegal agreement is enough to preclude a taxpayer suit to prohibit future
performance.  When all that remains is a school district's repayment of a loan for
work completed, allowance of a taxpayer action to prohibit such repayment threatens
a substantial interference with governmental actions.  The Blues' action not only
threatens BISD's already substantial investment in its high school, and what by now
are the settled expectations of other taxpayers in the district who are also served by
the high school, but should the action succeed on the merits, it would signal increased
risks to lenders and others in dealing with governmental entities.  The potential for
disruption of government operations is too great to allow a taxpayer with no special
injury distinct from the general public's to sue to prohibit the government from
paying for goods and services it has already received and placed in permanent use.


Id. at 557-58.  The State Defendants urge that "the school districts and teachers, just as the building
contractor in Bland, have ordered their operations based on an expectation of payment from the
State," that "[t]o deprive teachers of salary increases and school districts of money for their operating
budgets midway through the year is precisely the 'disruption' the Bland Court sought to avoid," and
that we should conclude that "the money is, as a matter of law, already spent."

		Unlike the Bland school district, however, the State Defendants have not developed
an evidentiary record that might support such a conclusion.  As previously noted, they did not present
evidence in support of their plea to the jurisdiction, and rely entirely upon broad, unsupported
assumptions about the effect of H.B. 1 on Texas school districts.  Moreover, this legal theory was
not presented to the district court, and the parties have only begun to address it on appeal.  Especially
under these circumstances, we are reluctant to adopt the State Defendants' proposed extension of
Bland's rationale.  See Davis, 137 S.W.3d&nbsp;at 334-35 &amp; n.16; see also Petco Animal Supplies, Inc.
v. Schuster, 144 S.W.3d 554,&nbsp;565 (Tex. App.--Austin 2004, no pet.).  Given the state of the record
and the law, this&nbsp;argument does not provide us a basis for affirming the district court's order.

Issues raised sua sponte

	Associational standing

		While the State Defendants have not separately challenged the associational
standing&nbsp;of C.L.O.U.T., we must consider that issue sua sponte.  See Texas Ass'n of Bus., 852
S.W.2d at&nbsp;445-46.  An association has standing to sue on behalf of its members if:  (1) its members
would&nbsp;otherwise have standing to sue in their own right; (2) the interests the organization seeks
to&nbsp;protect are germane to the organization's purposes; and (3) neither the claim asserted nor the
relief&nbsp;requested requires the participation of individual members in the lawsuit.  Id.  (adopting
the&nbsp;test from Hunt v. Washington State Apple Adver. Comm'n, 432 U.S. 333, 343 (1977)). 
We&nbsp;construe Plaintiffs' allegation that C.L.O.U.T. would have standing as a state taxpayer as
an&nbsp;assertion that its members would have individual standing to sue as taxpayers, thus
addressing&nbsp;the&nbsp;first element of the associational standing test.  However, Plaintiffs' pleadings do
not&nbsp;address the remaining elements, nor is there evidence establishing these elements in
the&nbsp;attachments to their pleadings.  See id.  But&nbsp;because&nbsp;Plaintiffs' pleadings do not affirmatively
negate these elements but merely fail to&nbsp;address&nbsp;them, Plaintiffs are entitled to the opportunity to
amend.  See Miranda, 133 S.W.3d at 226-27; Elgin, 191 S.W.3d at 272.

	The concurrence's "ripeness" concern

		Finally, the concurrence would decline to address any issue in this case other than
those concerning the claim alleging unconstitutional delegation of powers.  The stated basis is that
the other claims are not "ripe for decision" and that a "fuller ventilation of pleadings, evidence, and
briefing in the district court" would be needed to avoid an advisory opinion.  We do not view
ripeness as an issue in this case.  Ripeness concerns whether, at the time a lawsuit is brought, the
facts have developed sufficiently such that an injury has occurred or is likely to occur, rather than
being contingent or remote.  Patterson v. Planned Parenthood, 971 S.W.2d 439, 442 (Tex. 1998). 
It is a requirement of subject matter jurisdiction.  Waco Indep. Sch. Dist. v. Gibson, 22 S.W.3d 849,
851 (Tex. 2000).  If the State Defendants have acted in a manner so as to violate the spending cap,
as Plaintiffs allege, those actions have been completed and Plaintiffs' claims are ripe.  We also note
that none&nbsp;of&nbsp;the parties have suggested that ripeness is a problem, and that the remedy
the&nbsp;concurrence proposes--remand rather than dismissal--is inconsistent with the existence of a
ripeness defect.  See id. at 853.

		The concurrence's reference to a "fuller ventilation of the pleadings, evidence, and
briefing" may express a concern that there is a problem here with the State Defendants raising their
jurisdictional complaints through the procedural device of a plea to the jurisdiction without opting
for some other device like a summary judgment motion.  Similar concerns were voiced by the
dissenting justices in Miranda, but their views did not carry the day.  See id. at 234, 235-36
(Jefferson, C.J., dissenting); id. at 239, 239-45 (Brister, J., dissenting).  The concurrence may intend
its comments as an invitation to the supreme court to revisit Miranda.  If so, it would seem more
direct to simply say so.  In any event, as an intermediate appellate court, we are bound to follow
Miranda until the supreme court&nbsp;reverses or modifies that decision.  Petco, 144 S.W.3d at 565.  To
the extent the concurrence expresses concerns that issues have been raised for the first time on
appeal without the development of an adequate record, we have noted those issues and have
remanded them for further proceedings.

CONCLUSION

		For the foregoing reasons, we affirm the district court's dismissal of Plaintiffs' claim
alleging unconstitutional delegation of legislative powers for want of jurisdiction.  However, to the
extent that Plaintiffs' remaining two claims seek declarations that future expenditures under H.B.1's
appropriation are unconstitutional or illegal, the district court erred or abused its discretion in
dismissing those claims based on the record before it, and we reverse those portions of the district
court's judgment.  Additionally, we hold that, while Plaintiffs failed to sufficiently plead the
associational standing of C.L.O.U.T., Plaintiffs are entitled to leave to amend to address that defect.



						                                                                                    

						Bob Pemberton, Justice

Before Justices Patterson, Pemberton and Waldrop;

	Concurring Opinion by Justice Patterson


Affirmed in part, Reversed and Remanded in part


Filed:   April 17, 2007
1.   Neeley v. West Orange Cove-Consolidated Indep. Sch. Dist., 176 S.W.3d 746 (Tex. 2005). 
The supreme court held that Texas's public school finance system constituted an unconstitutional
state property tax and gave the legislature until June 1, 2005 to enact corrective legislation. 
Id.&nbsp;at&nbsp;800. 
2.   The LBB is a permanent joint committee of the Texas Legislature comprised of the
lieutenant governor, speaker of the house of representatives, the chairman of the senate finance
committee, the chairman of the house appropriations committee, the chairman of the house ways and
means committee, three members of the senate appointed by the lieutenant governor, and two
additional house members appointed by the speaker.  Tex. Gov't Code. Ann. § 322.001(a)
(West&nbsp;2005).  The lieutenant governor and speaker of the house are joint chairs of the LBB. 
Id.&nbsp;§&nbsp;322.001(b).  The LBB develops budget and policy recommendations for legislative
appropriations, including a draft General Appropriations Act each session, id. § 322.008(c) (West
2005), and fiscal impact statements regarding other proposed legislation.  Id. § 314.001 (West 2005).
3.   The parties appear to agree that the relevant "biennium" is the state's fiscal
biennium,&nbsp;which runs from September 1 of each odd-numbered year through August 31 of the
succeeding odd-numbered year.
4.  Article III, section 49a provides in full:


(a) 	It shall be the duty of the Comptroller of Public Accounts in advance of each
Regular Session of the Legislature to prepare and submit to the Governor and
to the Legislature upon its convening a statement under oath showing fully
the financial condition of the State Treasury at the close of the last fiscal
period and an estimate of the probable receipts and disbursements for the then
current fiscal year. There shall also be contained in said statement an itemized
estimate of the anticipated revenue based on the laws then in effect that will
be received by and for the State from all sources showing the fund accounts
to be credited during the succeeding biennium and said statement shall
contain such other information as may be required by law. Supplemental
statements shall be submitted at any Special Session of the Legislature and
at such other times as may be necessary to show probable changes. 


(b) 	Except in the case of emergency and imperative public necessity and with a
four-fifths vote of the total membership of each House, no appropriation in
excess of the cash and anticipated revenue of the funds from which such
appropriation is to be made shall be valid.  No bill containing an
appropriation shall be considered as passed or be sent to the Governor for
consideration until and unless the Comptroller of Public Accounts endorses
his certificate thereon showing that the amount appropriated is within the
amount estimated to be available in the affected funds. When the Comptroller
finds an appropriation bill exceeds the estimated revenue he shall endorse
such finding thereon and return to the House in which same originated. Such
information shall be immediately made known to both the House of
Representatives and the Senate and the necessary steps shall be taken to bring
such appropriation to within the revenue, either by providing additional
revenue or reducing the appropriation. 


Tex. Const. art. III, § 49a. 
5.   See John Greene &amp; Larry Toomey, The Tax Reform Act of 1979, 42 Tex. B.J. 1007, 1007
(1979) (contemporaneously observing, with reference to the notable California taxpayer-relief
measures of the 1970s, that "Proposition 13 sentiment has invaded the Texas Legislature.").
6.   We base the following observations regarding the nature of appropriations chiefly on
public&nbsp;documents Plaintiffs attached to their petition. 
7.   Notice of Meeting of the Legislative Budget Board, Agenda Item 3 (Nov. 17, 2004) (C.R.
57, Ex. E to Plaintiff's original petition).
8.   Id.
9.   Subsections (d) and (e), added in 1991, apparently responded to an initial failure or refusal
of the LBB to comply with its statutory requirements to set a spending cap.  C.R. 54; see Janice
C.&nbsp;May, The Texas State Constitution:  A Reference Guide 310 (1996) (noting that twenty
legislators&nbsp;had sought mandamus with the Texas Supreme Court to compel the LBB to act). 
10.   Tex. Civ. Prac. &amp; Rem. Code Ann. §§ 37.001-.011 (West 1997 &amp; Supp. 2006) ("UDJA").
11.   As introduced in the house of representatives, the proposed Tax Relief Amendment, in
relevant part, would have limited the growth of all legislative appropriations from state tax revenue
to a fixed annual increase of 7½ percent.  H.J. of Tex., 65th Leg., 2d C.S. 9 (1978).  That provision
was deleted entirely in the committee substitute, see id. at 92, but the following provision was later
added through a house floor amendment:



That Article VIII of the Texas Constitution be amended by adding Section 21 to read
as follows:


Sec. 21  (a)  Except as otherwise provided by this Section, legislative appropriations
from State tax revenue for a fiscal biennium may not exceed the total of those
appropriations for the preceding biennium by more than would result from a
percentage equaling the percentage of growth of total personal income of the State
during the previous biennium, as reported by the Comptroller of Public Accounts.


	  (b)  The limitation in subsection (a) hereof shall not apply to appropriations
and tax increases necessary to provide for reimbursement to school districts to
replace revenues lost by partial or total abolition of ad valorem property taxes.  


	  (c)  If the legislature by adoption of a resolution approved by a record vote
of three-fifths of the members of each house, finds that an emergency exists and
identifies the nature of the emergency, the legislature may provide for appropriations
in excess of the amount authorized by Subsection (a) of this section.  The excess
authorized under this subsection may not exceed the amount specified in the
resolution.


	  (d)  In no case shall appropriations exceed revenues as provided in Article
III, Section 49a.



Id. at 142-43.  This version of the provision that became article VIII, section 22 remained in the
Taxpayer Relief Amendment passed by the house, id., but was deleted in the senate committee
substitute and omitted from the version approved by that chamber.  Id. at 309.  The conference
committee agreed on the language that now appears in article VIII, section 22, which was submitted
to and ratified by the voters.
12.   To the extent Plaintiffs are complaining about specific appropriations and expenditures
made during prior biennia, as opposed to forthcoming expenditures under the H.B. 1 appropriation,
they would lack standing under the principles we discuss below.  See Hoffman v. Davis, 100 S.W.2d
94, 95 (Tex. 1937).
13.  In their original petition, Plaintiffs also alleged unconstitutional delegation of
legislative&nbsp;powers to the committee established under section 316.005, but do not appear to
press&nbsp;this&nbsp;claim on appeal.
14.   Notice of Meeting of the Legislative Budget Board, Agenda Item 3 (Nov. 17, 2004) (C.R.
57, Ex. E to Plaintiff's original petition).
15.   Legislative Budget Board's "Fiscal Size Up 2006-2007 Edition" (published Dec. 2005)
(C.R. 58, 61, Ex. F to Plaintiffs' original petition).
16.   Id.
17.   Although named as a defendant, the Comptroller--then Carole Keeton Strayhorn--filed
an answer denying responsibility for the complained-of appropriations, as well as a "Statement of
Realignment" with Plaintiffs to the extent of "contending that meaningful control of, and effective
limitations on, state spending was intended by the voters in adopting Article VIII, § 22(a), and that
the same should be enforced by appropriate judgments of this Court, to the extent authorized by
law."  The Comptroller is not a party to this appeal.
18.   See McLane Co. v. Strayhorn, 148 S.W.3d 644, 649 (Tex. App.--Austin 2004,
pet.&nbsp;denied).
19.   Selected portions of this document were attached as Exhibits I and J to Plaintiffs' petition,
but not the entire document.
20.   As previously noted, H.B. 1 appropriated $3.825 billion.
21.   Our decision in Davis v. Burnam is not to the contrary.  137 S.W.3d 325, 334-35
(Tex.&nbsp;App.--Austin 2004, no pet.).  In relevant part, we vacated a trial court's denial of a plea to the
jurisdiction that had challenged whether the plaintiff had alleged that a state agency director had
acted ultra vires.  While we characterized the issue as involving "the merits" and turning on
"statutory construction" of the agency's powers, the basis for our holding was that the plaintiff had
added this ultra vires claim only one day before a hearing on the plea to the jurisdiction related to
other claims and that the agency therefore had inadequate notice that the trial court might rule
regarding its jurisdiction over the newly-added claim, and inadequate opportunity to develop its
arguments and authorities.  Id. &amp; n.16.
22.   The supreme court did not explicitly hold that "suitability" claims under article VII,
section 1 were justiciable until after our Bridge City decision.  Compare Neeley, 176 S.W.3d at 776-80, with Texas Workers' Comp. Comm'n v. City of Bridge City, 900 S.W.3d 411, 415
(Tex.&nbsp;App.--Austin 1995, writ denied) (emphasizing that the supreme court's holding regarding
the&nbsp;"efficiency" clause in Edgewood Indep. Sch. Dist. v. Kirby, 777 S.W.2d 391, 394
(Tex.&nbsp;1989)&nbsp;("Edgewood I"), was "the only instance of which we are aware in which a court
has&nbsp;undertaken such a task.").
23.   In their original petition, Plaintiffs requested several declarations that would have specified
particular methods by which the State Defendants or the legislature would be required to calculate
the rate of growth in the state economy or the spending cap.  On appeal, Plaintiffs appear to have
conceded that they would not be entitled to those sorts of declarations, but only those determining
that article VIII, section 22 has been violated.
24.   The State Defendants "do not question that Hendee is a taxpayer under the facts set forth
in the pleadings."
25.   Plaintiffs do not contend that the UDJA alone suffices to confer them standing as
taxpayers.
26.   The State Defendants raise several other arguments disputing whether Plaintiffs have
adequately pleaded standing under the taxpayer exception.  We address those arguments in the next
section of this opinion. 
27.   An action is arbitrary when it is taken without reference to guiding rules or principles. 
Neeley, 176 S.W.3d at 784 (citing General Tire, Inc. v. Kepple, 970 S.W.2d 520, 526 (Tex. 1998)). 
Whether a legislative enactment is arbitrary and therefore unconstitutional is a question of law. 
Id.&nbsp;at&nbsp;785.  Although this determination may rest in part upon determinations of disputed factual
matters, such findings "have a limited role" in deciding ultimately the constitutional issues.  Id.


	As applied to article VII, section 1, the arbitrariness standard accounts for the discretion the
constitution affords the legislature in fashioning a public school finance system satisfying the
requirements of "adequacy," "efficiency," and "suitability" while recognizing the judiciary's proper
role in enforcing these requirements:



If the Legislature's choices are informed by guiding rules and principles properly
related to public education--that is, if the choices are not arbitrary--then the system
does not violate the constitutional provision.


For article VII, section 1, as with other provisions, "[t]he final authority to determine
adherence to the Constitution resides with the Judiciary."  As we have said, "'a mere
difference of opinion [between judges and legislators], where reasonable minds could
differ, is not a sufficient basis for striking down legislation as arbitrary or
unreasonable.'"  At the same time, "[l]egislative action . . . is not without bounds."
In assessing challenges to the public school system under article VII, section 1, courts
must not on the one hand substitute their policy choices for the Legislature's,
however undesirable the latter may appear, but must on the other hand examine the
Legislature's choices carefully to determine whether those choices meet the
requirements of the Constitution.  By steering this course, the Judiciary can assure
that the people's guarantees under the Constitution are protected without straying into
the prerogatives of the Legislature. 



Id. (footnotes and citations omitted).
28.   In such instances, appellate courts must consider the petition, construed in the pleader's
favor, and, if necessary, review the entire record to determine if any evidence supports subject matter
jurisdiction.  Texas Ass'n of Bus. v. Texas Air Control Bd., 852 S.W.2d 440, 446 (Tex. 1993). 





29.   Bland Independent School District v. Blue may also be instructive.  As discussed in detail
below, the case involved a school district's appeal from a denial of its plea to the jurisdiction
challenging the standing of taxpayers to seek a permanent injunction against a school district's
expenditures of funds relating to the construction of a school building.  In the trial court, the district
had presented evidence that the building had already been constructed, which implicated the
plaintiffs' standing to sue as taxpayers. The trial court had refused to consider the evidence in the
belief that it was bound to consider only the pleadings, a ruling that the Texas Supreme Court later
held erroneous. 34 S.W.3d at 555.  In reliance on the trial court's decision not to consider the
evidence, the plaintiffs had not attempted to offer contrary evidence.  Id.  On appeal, they urged the
supreme court not to consider the district's evidence without giving them the opportunity on remand
to have a full evidentiary hearing.  Id.  The supreme court stated that such a remand would have been
appropriate if the plaintiffs' standing had been dependent on evidence they had disputed
and&nbsp;contended was not conclusive.  Id.  However, because the plaintiffs did "not dispute
BISD's&nbsp;evidence that construction of the school building is complete," the court proceeded
to&nbsp;consider "whether this undisputed evidence concerning the status of the project defeats
the&nbsp;[plaintiffs'] claim of standing."  Id.  Here, Plaintiffs dispute the evidence that the State
Defendants would present on appeal.
30.   We express no opinion regarding whether the jurisdictional evidence the State Defendants
seek to present on appeal would meet their burden under Miranda if presented to the district
court&nbsp;on&nbsp;remand. 
31.   The State Defendants do not suggest that Plaintiffs lack standing to challenge prospective
unlawful expenditures under this exception merely because they have not yet sought an injunction
against those expenditures, but request only declarations that the H.B. 1 appropriation and
expenditures made under it are illegal.  In fact, in their plea to the jurisdiction, the State Defendants
contended that injunctive relief would be "premature" before they had the opportunity to comply
with any declaration that the court might issue because "[t]he law presumes that a defendant will
recognize and respect the rights declared by a declaratory judgment and will abide by the judgment
in carrying out its duties."  Plea to the Jurisdiction, C.R. 139-40 (quoting Howell v. Texas Workers'
Comp. Comm'n, 143 S.W.3d 416, 433 (Tex. App.--Austin 2004, pet. denied)).


	At least to the extent that Plaintiffs properly challenge the legality of future expenditures
made under the H.B. 1 appropriation, we conclude that Plaintiffs would have standing to assert that
claim under the UDJA without seeking injunctive relief.  While the UDJA does not expand a trial
court's jurisdiction or dispense with the justiciability requirements of ripeness and standing, it does
provide a remedy where subject matter jurisdiction otherwise exists.  Tex. Civ. Prac. &amp; Rem. Code
Ann. § 37.003(a) (West 1997) ("A court of record within its jurisdiction has power to declare rights,
status and other legal relations . . . .") (emphasis added); Texas Ass'n of Bus., 852 S.W.2d at 444. 
Thus, if Plaintiffs would have standing to seek an injunction to prevent expenditures that the trial
court determined to be illegal, the UDJA would likewise authorize them to obtain declarations
regarding the component issue of whether the expenditures were illegal.  Cf. El Paso Co. Hosp. Dist.
v. Gilbert, 64 S.W.3d 200, 202-03 (Tex. App.--El Paso 2001, pet. denied) (where plaintiffs had
justiciable interest in controversy arising under section 26.04 of property code, they likewise had
standing to seek relief under UDJA).
32.   See Williams v. Lara, 52 S.W.3d 171, 180-83 (Tex. 2001) (complaint of public funds
being expended at prison in violation of Establishment Clause); Calvert v. Hull, 475 S.W.2d 907,
908 (Tex. 1972) (suit to enjoin funds appropriated by legislature to procure site of University of
Texas of the Permian Basin on basis that conditions for appropriation were not met); Osborne v.
Keith, 177 S.W.2d 198, 200-01 (Tex. 1944) ("recogniz[ing] the right of a taxpaying citizen to
maintain an action in a court of equity to enjoin public officials under a contract that is void or
illegal."); City of Austin v. McCall, 68 S.W. 791, 793-94 (Tex. 1902) (same).


	Plaintiffs suggest that Terrell v. Middleton, the notable "chicken salad case," see Hull, 475
S.W.2d at 908, is closely analogous to this case and squarely supports the proposition that taxpayers
may sue to enjoin state expenditures that exceed constitutional spending limits.  In fact, it is
somewhat unclear whether the allegedly unlawful expenditures that conferred standing upon the
taxpayer plaintiff did so because the expenditures exceeded a constitutional limit or because the
purposes of the expenditures were allegedly unlawful.  See 187 S.W. 367, 372-73 (Tex. App.--San
Antonio 1916), writ ref'd, 191 S.W. 1138 (Tex. 1918).  Terrell involved whether the Comptroller
could use state funds to pay certain entertainment bills incurred by the governor--including chicken
salad from the Driskill.  Although these expenditures would have violated constitutional limits on
the amount of the governor's salary, the court of appeals also emphasized that the items that were
to be paid by the Comptroller "were for private and individual purposes, and not for the public good,
and the appropriation made for that purpose by the Legislature was directly in the face of article 16,
§ 6 of the Constitution, which commands that 'no appropriation for private or individual purposes
shall be made.'"  Id. at 372 (emphasis added).  The court also noted that "a lending of the credit of
the State to a Governor for his private expenses, to increase his compensation is not only a violation
of the constitutional provision as to his compensation, but is in violation of article 3, § 50, of the
Constitution."  Id. at 373; see also Tex. Const. art. III, § 50 (prohibiting legislature from giving or
lending credit of State to any person or pledging credit of State in any manner whatsoever for
payment of individual's liabilities).  The court's opinion concluded by stating that whenever taxes
are imposed for private purposes, they "cease to be taxation and become plunder."  Id. (quoting
Waples v. Marrast, 184 S.W. 180, 182 (Tex. 1916)).
33.   We also find unpersuasive the State Defendants' attempts to equate Plaintiffs' claims to
those asserted in Robinson v. Neeley, 192 S.W.3d 904, 911 (Tex. App.--Dallas 2006, no pet.), which
they cite for the proposition that "when the authority to engage in an activity is disputed, but not the
legality of the action itself, taxpayers have no standing to challenge it."  Robinson arose from the
education commissioner's appointment of a board of managers to control the operations of the
Wilmer-Hutchins Independent School District.  After the board voted to "essentially shut down the
district," a group that included a district taxpayer sued for declaratory and injunctive relief.  Their
petition was dismissed for want of standing, which the court of appeals affirmed.  Regarding the
taxpayer's standing, the court observed that "[n]owhere in appellants' active pleading or their
brief&nbsp;do they accuse the Commissioner, the [board], or [the superintendent] of expending
public&nbsp;funds on illegal activity [but] complain that the expenditures were made by an
'invalid'&nbsp;board."  Id. at 911.  The court further noted that "[a]ppellants cite no authority for
the&nbsp;proposition that a public officer, performing his duties in good faith, is engaged in an
illegal&nbsp;activity if his authority is in dispute."  Id.


	In an attempt to bring this case within Robinson, the State Defendants characterize Plaintiffs'
claims as "attack[ing] only the process by which the funds were allocated."  Plaintiffs' claims are
clearly not so limited.  They challenge expenditures claimed to be unlawful because they are being
made pursuant to allegedly unconstitutional or unlawful appropriations.  At most, Robinson might
have implications for Plaintiffs' standing to assert their claims that chapter 316 unlawfully delegates
legislative power to the LBB, a claim that we have already held is barred by lack of standing and
sovereign immunity.


